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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


 United States of America,
                     Plaintiff,


                     vs.                           Case No. 99-10023-JTM


 Cornelius Graham,
                     Defendant.




                             MEMORANDUM AND ORDER

      Following his guilty plea, Cornelius Graham was convicted of bank robbery and

other crimes. Graham later filed an appeal which was dismissed. (Dkt. 175). He

subsequently filed a Motion to Vacate under 28 U.S.C. § 2255, which the court denied on

April 9, 2004. (Dkt. 216). The court explicitly determined that “Defendant’s counsel — an

experienced and capable attorney who obtained dismissal of other serious charges by

means of the plea agreement — was not ineffective in his representation of defendant.”

(Dkt. 216, at 5). In addition, the court noted that Graham had expressly waived any right

to collaterally attack his sentence, and specifically determined that this waiver was

knowing and voluntary. Id.

      Now, twelve years after his conviction, the matter is before the court on Graham’s

Motion to Set Aside the Judgment, which invokes 28 U.S.C. § 1615 and requests a writ
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audita querella. Graham’s central argument is that his counsel was constitutionally

deficient in failing to convey information as to proposed plea negotiations. Graham was

delayed in making the present argument, he contends, because he was without “a[n]

avenue to get back in to court [and] had to wait until the re[c]ent Supreme Court case

MISSOURI v. FRYE No. 10-444 (3-21-2012).” (Dkt. 304, at 25).

       Graham’s motion is denied for two reasons. First, the writ audita querela is not

available to individuals like Graham who are in government custody. United States v.

London,     Fed.Appx.      , 2013 3870543, (10th Cir. July 29, 2013).

       Second, as the Tenth Circuit held in London, even if the petition for writ of audita

querela were considered as a successive motion under 28 U.S.C. § 2255, it must be denied

in the absence of a “new rule of constitutional law, made retroactive to cases on collateral

review by the Supreme Court, that was previously unavailable.” 28 U.S.C. § 2255(h)(2).

       [F]or a petitioner to avail himself of a new rule, the Supreme Court must
       “explicitly hold[ ] that the rule it announced applies retroactively.” Bey v.
       United States, 399 F.3d 1266, 1268 (10th Cir.2005) (emphasis in original).
       London points to a number of recent ineffective-assistance-of-counsel cases.
       See Lafler v. Cooper, 132 S.Ct. 1376 (2012); Missouri v. Frye, 132 S.Ct. 1399
       (2012); Padilla v. Kentucky, 559 U.S. 356 (2010). Yet these cases either do not
       apply retroactively or did not announce a new rule of constitutional law. See
       Chaidez v. United States, 133 S.Ct. 1103, 1113 (2013) (holding that Padilla does
       not have retroactive effect); In re Graham, 714 F.3d 1181, 1183 (10th Cir.2013)
       (holding that Lafler and Frye did not announce new rules of constitutional
       law for purposes of a second or successive motion under § 2255).

London, 2013 WL 3870543, at *1.
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      IT IS ACCORDINGLY ORDERED this 27th day of August, 2013, that the defendant’s

Motion to Vacate (Dkt. 304) is hereby denied.



                                                 s/ J. Thomas Marten
                                                J. THOMAS MARTEN, JUDGE
